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13

14                          IN THE UNITED STATES DISTRICT COURT

15                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     OAKLAND DIVISION

17
     MICHELLE HINDS, an individual, and              Case No. 4:18-cv-01431-JSW (AGT)
18   TYRONE POWELL, an individual,
19                 Plaintiffs,                       JOINT PROPOSED VOIR DIRE
                                                     QUESTIONS
20          vs.
21   FEDEX GROUND PACKAGE SYSTEM,
     INC., a Delaware corporation; and BAY RIM
22   SERVICES, INC., a California corporation,
                                                     Action Filed: March 5, 2018
                   Defendants.                       FAC Filed: May 10, 2018
23                                                   Trial: October 24, 2022
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1           1.      Has anyone been a party to a lawsuit or have a close friend or family member

2    who has been a party to a lawsuit?

3                   a.     Who was the party to the suit?

4                   b.     Were you/your family member/your friend the plaintiff or the defendant?

5                   c.     What was the case about?

6                   d.     What was the result?

7           2.      Has anyone ever filed a complaint against an employer?
8           3.      Has anyone ever felt you were unfairly denied pay, overtime, or benefits you

9    believed you were entitled to?

10          4.      Has anyone ever felt that your employer did not provide appropriate rest or meal

11   breaks?

12          5.      Has anyone ever felt unfairly required to work more than 40 hours in a week?

13          6.      Has anyone ever felt an employer manipulated your employment status to save

14   the company money?

15          7.      Has anyone ever disputed your employment classification? For example, has

16   anyone ever disputed that you were an employee?

17                  a.     Has anyone had an employer tell you that you were exempt from

18   overtime pay when you believed or know you were entitled to overtime pay?

19          8.      Does anyone believe that employers routinely take unfair advantage of their

20   employees?

21          9.      Has anyone ever had a negative experience with FedEx Ground?

22          10.     Does anyone hold a negative opinion of FedEx Ground?

23          11.     Does anyone hold negative opinions of large corporations, generally? For

24   example, does anyone feel like most large corporations act unethically?

25          12.     Does anyone feel like they would have difficulty trusting the testimony of a

26   witness who works for or represents a large corporation in a lawsuit?

27          13.     Does anyone have strong opinions about how large corporations treat their

28   employees?

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1            14.    Does anyone know someone who has worked as a driver for a delivery

2    company, like UPS, Amazon, or Federal Express?

3            15.    Does anyone have any education, training, or experience in the legal field?

4            16.    Does anyone have any education, training, or experience with California labor

5    laws?

6            17.    Has anyone ever worked in human resources before?

7            18.    Has anyone ever served on a jury before?

8                   a.     Has anyone ever served as the foreperson or presiding juror on a jury?

9                   b.     Did the jury reach a verdict?

10           19.    Does anyone feel that if a case makes it to trial it is probably a strong case?

11           20.    Has anyone ever been a member of a labor union?

12           21.    Has anyone worked as an independent contractor or worked for a business that

13   was an independent contractor or independent service provider?

14                  a.     For those of you who have been independent contractors, did you have

15   any negative experience?

16           22.    Does anyone hold negative opinions about companies that primarily rely on

17   independent contractors or independent service providers for conducting a key aspect of the

18   company’s business?

19                  a.     Who has heard about “Gig” economies?

20                         i.      Does anyone hold negative opinions about Gig economies?

21           23.    Has anyone ever left a job due to poor working conditions?

22           24.    Has anyone felt retaliated against at any of your jobs?

23           25.    Where do you live? How long have you lived there?

24           26.    Are you married? Do you have children?

25           27.    What is your occupation? Your spouse’s occupation?

26           28.    What state were you born in? When did you come to California?

27           29.    Have you or your spouse ever served in the military? What branch? In what

28           capacity? What rank or rate?

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1        30.   Have you or your spouse ever served in law enforcement? In what capacity?

2        31.   Have you ever worked for yourself?

3        32.   Have you or your spouse or children ever been employed by any of the FedEx

4        companies? By Bay Rim Services?

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1                                         Respectfully submitted,

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      DATE: September 16, 2022          AIMAN-SMITH & MARCY
3
                                        By: /s/ Joseph Clapp
4                                           Joseph Clapp
                                            Attorney for Plaintiffs
5                                           MICHELLE HINDS & TYRONE POWELL
6     DATE: September 16, 2022          WHEELER TRIGG O’DONNELL LLP
7                                       By: /s/ Jessica G. Scott
                                            Jessica G. Scott
8                                           Attorney for Defendant
                                            FEDEX GROUND PACKAGE SYSTEM, INC.
9

10                                      ECF ATTESTATION
11          Pursuant to Civil L. R. 5-1(i) the filer attests that concurrence in the filing of this
12   document has been obtained from each of the other signatories thereto.
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14
     Date: September 16, 2022                     /s/ Jessica G. Scott
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                                JOINT PROPOSED VOIR DIRE QUESTIONS
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